Case 2:12-md-02323-AB Document 7366-3 Filed 03/27/17 Page 1 of 2




                       Exhibit C
       Case 2:12-md-02323-AB Document 7366-3 Filed 03/27/17 Page 2 of 2
                                    Revised Summary of Expenses

                                                     MoloLamken LLP
Reporting Period:                                    September 3, 2013 ‐ November 30, 2016

               Type of Expense                                   Total Expenses
(1) Fees                                                                             $830.36
(2) Federal Express/Local Courier, etc.                                                $0.00
(3) Postage Charges                                                                    $0.00
(4) Fascimile Charges                                                                  $0.00
(5) Long Distance/Conference Calls                                                     $0.00
(6) In‐House Document Reproduction                                                     $0.00
(7) Outside Document Reproduction                                                  $8,336.86
(8) Lodging/Hotels                                                                 $6,649.81
(9) Dining/Meals                                                                     $271.11
(10) Mileage                                                                         $121.00
(11) Air Travel                                                                    $2,868.90
(12) Ground Transportation                                                         $6,237.74
(13) Legal Research/Lexis/Westlaw                                                      $0.00
(14) Miscellaneous (litigation support, graphics, 
articles/books, supplies for hearing)                                             $21,025.74
Total:                                                                            $46,341.52
